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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

DENNIS DONNELLY, on behalf of himself
and all others similarly situated,

                   Plaintiff,

       v.                                                 Case No. 4:25-cv-00150-RGE-WPK

DES MOINES REGISTER AND TRIBUNE                            MOTION TO REMAND
CO., INC.; J. ANN SELZER; SELZER &                       OR IN THE ALTERNATIVE
COMPANY; and GANNETT CO., INC.,                      FOR JURISDICTIONAL DISCOVERY

                   Defendants.


Pursuant to 28 U.S.C. 1447(c):

1. the Plaintiff moves for remand of this case to the Polk County, Iowa, district court, based on the

Remover’s failure to file a timely notice of removal (see 28 U.S.C. 1446(b)(1)).

2. In the alternative, the Plaintiff moves for limited jurisdictional discovery to determine whether

this Court has jurisdiction under the Class Action Fairness Act, or whether the home state

exception, local controversy exception, or interests of justice exception apply to this matter. 28

U.S.C. § 1332(d)(3)-(4).

3. Plaintiff has met-and-conferred with opposing counsel for Removant Gannett Co., who has

indicated that they oppose this motion and alternative motion.

4. Plaintiff timely files this motion, as 28 U.S.C. 1447(c) requires action within 30 days of the

notice of removal, which was filed on April 24, 2025.


       /s/ Robert Anderson                                    /s/ Daniel R. Suhr
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